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                       UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF VIRGINIA
                             LYNCHBURG DIVISION


IN RE: Rudd M. Holt, IV                             CASE# 11-61577
       Shannon M. Holt                              CHAPTER 13
                                                    ADV CASE # 18-06012

                               CERTIFICATION OF SERVICE
I, Michelle J. Dunn of Stephen E. Dunn, Pllc. certify:


       That I am, and at all times hereinafter mentioned, was more than 18 years of age;
That on the 9th day of May, 2018, I served a copy of the within
Summons and Notice of Trial {or Pretrial Conference}, together with the complaint filed in
the proceeding, on:

CitiGroup, Inc.
Attn: Michael Corbat, CEO
399 Park Ave.
New York, NY 10043

And

Citifinancial, Inc. (WV) (used in VA by: CitiFinancial, Inc)
c/o CT Corporation System
4701 Cox Road, Suite 285
Glen Allen, VA 23060

And

CitiFinancial Servicing LLC
c/o CT Corporation System
4701 Cox Road, Suite 285
Glen Allen, VA 23060

And

CitiFinancial
PO Box 6042
Sioux Falls SD 57117
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the defendant(s) and other parties in this proceeding, by {describe here the mode of
service}:
Certified Mail with Return Receipt
I certify under penalty of perjury that the foregoing is true and correct.




Executed on May 9, 2018        /s/ Michelle J. Dunn
             {Date}                     {Signature}
